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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division




     ELIZABETH SINES, et al.,

                                  Plaintiffs,              Civil Action No. 3: 17-cv-00072-NKM
     v.
                                                           JURY TRIAL REQUESTED
     JASON KESSLER, et al.,

                                  Defendants.



                                   APPEARANCE OF COUNSEL

          To: The Clerk of the Court and all parties of record:

          I, Gemma Seidita, Esq., file my appearance in the above styled case as co-counsel for

   Plaintiffs. I was admitted to practice before this Court, in the above styled case, on behalf of

   Plaintiffs, by the October 6, 2021 Order granting my Motion for Pro Hac Vice Admission. See

   ECF No. 1165.

   Dated: October 12, 2021

                                                         Respectfully submitted,

                                                         /s/ Gemma Seidita
                                                         Gemma Seidita (pro hac vice)
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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                                                 Matthew Heimbach, Matthew Parrott and
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         I further hereby certify that on October 12, 2021, I also served the following non-ECF
   Defendants/participants, via electronic mail or First Class U.S. mail, as follows:

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                                                    /s/ Gemma Seidita
                                                    Gemma Seidita
                                                    Counsel for Plaintiffs




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